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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §     Case No. 2:03-CR-19-6- JRG-RSP
                                                 §
 KENDRIC JONES                                   §

                                   MEMORANDUM ORDER

        The Court referred a petition, alleging violation of supervised release conditions, to

 United States Magistrate Judge Roy Payne at Marshall, Texas for consideration pursuant to

 applicable laws and orders of this Court. The Court has received and considered the Report of

 the United States Magistrate Judge filed pursuant to such order, along with the record, pleadings,

 and all available evidence.

        At the close of the August 21, 2013, revocation hearing, Defendant, defense counsel and

 counsel for the government signed a standard form waiving their right to object to the proposed

 findings and recommendations contained in the United States Magistrate Judge's report,

 consenting to revocation of supervised release and consenting to the imposition of the sentence

 recommended in the report. Defendant also waived his right to be present and speak before the

 District Judge imposes the recommended sentence. Therefore, the Court may act on the report

 and recommendation immediately.

        Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are

 correct and the report of the Magistrate Judge is ADOPTED. It is therefore

        ORDERED that the Defendant=s plea of true to allegations as set forth in the

 government=s petition be ACCEPTED.           Based upon the Defendant=s plea of true to the

 allegations, the Court finds that the Defendant violated the conditions of his supervised release.
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 It is further
        .
         ORDERED that the Defendant=s supervised release be REVOKED. Judgment and

 commitment will be entered separately, in accordance with the Magistrate Judge's

 recommendations. It is further

         ORDERED that the Defendant be committed to the custody of the Bureau of Prisons to

 be imprisoned for a term of 8 months, with no supervised release to follow such term of

 imprisonment.
         SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 20th day of November, 2013.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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